               Case 3:18-cv-01061-HZ             Document 1-1 Filed 06/18/18                Page 1 of 18
                                                 5/21/2018 2:52 PM
                                                    18CV20543



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 7                         IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                                   FOR THE COUNTY OF MULTNOMAH

 9   FARES RUSTOM,
                                                                 Case No.
10                         Plaintiff,
                                                                 COMPLAINT
11            v.
                                                                 (Breach of Contract; Violation of ORS
12   ACE AMERICAN INSURANCE                                      742.061)
     COMPANY, a Pennsylvania corporation; and
13   CHUBB INSURANCE SOLUTIONS                                   PRAYER: $800,000.00
     AGENCY INC., a Delaware corporation,
14                                                               Filing Fee: ORS 21.160 ($560)
                           Defendants.
15                                                               NOT SUBJECT TO MANDATORY
                                                                 ARBITRATION
16
                                                                 JURY TRIAL REQUESTED
17

18
              Plaintiff Fares Rustom (“Rustom”) alleges as follows:
19
                                                       PARTIES
20
                                                         1.
21
              At all times material, Rustom resided in Multnomah County, Oregon.
22
                                                         2.
23
              Ace American Insurance Company (“Ace”) is a Pennsylvania corporation engaged in
24
     property and casualty insurance in the State of Oregon. Chubb Insurance Solutions Agency Inc.
25
     (“Chubb”) is a Delaware corporation engaged in insurance business in the State of Oregon. On
26
     information and belief, Ace or its affiliate acquired Chubb (and its affiliates) and now operates
     Page 1 – COMPLAINT                                            G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                   eleventh floor
                                                                                    121 s.w. morrison street
                                                                                  portland, oregon 97204-3141
                                                                                          503 228 3939

                                                                                        Exhibit A, Page 1 of 18
               Case 3:18-cv-01061-HZ          Document 1-1       Filed 06/18/18          Page 2 of 18




 1   under the name Chubb. Hereinafter, “Insurer” will refer to the Defendants either individually or

 2   collectively.

 3                                                   FACTS

 4                                                    3.

 5             On or about May 31, 2013, Rustom purchased a 62.8 foot Navigator Yacht (the

 6   “Vessel”). On the same date, Ace issued a Yachtsman Policy (“Policy”) to Rustom insuring the

 7   Vessel against property damage, including, amongst other things, property damage caused by a

 8   latent defect.

 9                                                    4.

10             The Vessel suffered extensive damage as a result of a latent defect. The Vessel’s damage

11   includes water damage to the forward state room, bulkhead, deterioration of wood and cabinets,

12   and deterioration of the foredeck, including to the balsa core and the foredeck settee.

13                                                    5.

14             On or about June 8, 2017, a claim was submitted to the Insurer in regard to the Vessel.

15   The claim constitutes a proof of loss for purposes of ORS 742.061.

16                                                    6.

17             Insurer accepted the claim but has yet to settle the claim.

18                                          CLAIM FOR RELIEF
                                               COUNT ONE
19                                       (BREACH OF CONTRACT)
20                                                    7.
21             Plaintiff realleges paragraphs 1 through 6.
22                                                    8.
23             Insurer has breached the Policy by failing to settle Rustom’s claim as required by the
24   Policy.
25                                                    9.
26             Rustom has satisfied all his obligations under the Policy.

     Page 2 – COMPLAINT                                               G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                    eleventh floor
                                                                               121 s.w. morrison street
                                                                             portland, oregon 97204-3141
                                                                                     503 228 3939

                                                                                     Exhibit A, Page 2 of 18
              Case 3:18-cv-01061-HZ         Document 1-1       Filed 06/18/18          Page 3 of 18




 1                                                  10.

 2            As a result of the Insurer’s breach, Rustom has been damaged in the amount to be proven

 3   at trial, in the approximate amount of $800,000, plus prejudgment interest on that amount for the

 4   rate of 9% per annum from the date Rustom purchased the Vessel. The exact amount of

 5   damages is still under investigation. Rustom intends to amend this complaint to allege a more

 6   accurate amount of damages after the investigation is complete.

 7                                          COUNT TWO
                                      (VIOLATION OF ORS 742.061)
 8
                                                    11.
 9
              Plaintiff realleges paragraph 1 through 6 and 8 through 10 above.
10
                                                    12.
11
              Insurer failed to settle Rustom’s claim within six months of receiving proof of loss as
12
     required by ORS 742.061. Pursuant to ORS 742.061, and in addition to the damages alleged in
13
     paragraph 10, Rustom is entitled to recover his attorney fees and costs incurred in pursuing this
14
     claim.
15
              WHEREFORE, Plaintiff prays for relief as follows:
16
                     (a)     A judgment in Plaintiff’s favor and against Defendants awarding damages
17
                             in the amount of $800,000;
18
                     (b)     A judgment in Plaintiff’s favor and against Defendants awarding Plaintiff
19
                             prejudgment interest on the amount of $800,000 at the rate of 9% per
20
                             annum;
21
                     (c)     A judgment in Plaintiff’s favor and against Defendants awarding Plaintiff
22
                             his reasonable attorney fees and costs pursuant to ORS 742.061; and
23
     ////
24   ////
25   ////
26   ////

     Page 3 – COMPLAINT                                             G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                  eleventh floor
                                                                             121 s.w. morrison street
                                                                           portland, oregon 97204-3141
                                                                                   503 228 3939

                                                                                   Exhibit A, Page 3 of 18
               Case 3:18-cv-01061-HZ      Document 1-1       Filed 06/18/18          Page 4 of 18




 1                   (d)   For such other relief deemed just and equitable by this Court.

 2            DATED this 21st day of May, 2018.

 3                                                    GARVEY SCHUBERT BARER, P.C.

 4
                                                      By s/ Patrick J. Conti
 5                                                       Patrick J. Conti, OSB #141308
                                                         E-Mail: pconti@gsblaw.com
 6                                                       Telephone: (503) 228-3939
 7                                                       Fax: (503) 226-0259

 8                                                        Trial Attorney:
                                                          Paul H. Trinchero, OSB #014397
 9                                                        E-Mail: ptrinchero@gsblaw.com
                                                          Telephone: (503) 228-3939
10                                                        Fax: (503) 226-0259
11
     GSB:9412696.4
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     Page 4 – COMPLAINT                                           G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                eleventh floor
                                                                           121 s.w. morrison street
                                                                         portland, oregon 97204-3141
                                                                                 503 228 3939

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 7                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                                FOR THE COUNTY OF MULTNOMAH

 9   FARES RUSTOM,
                                                           Case No.
10                      Plaintiff,
                                                           SUMMONS
11          v.
12   ACE AMERICAN INSURANCE
     COMPANY, a Pennsylvania corporation; and
13   CHUBB INSURANCE SOLUTIONS
     AGENCY INC., a Delaware corporation,
14
                        Defendants.
15

16          To:     Chubb Insurance Solutions Agency Inc., c/o CT Corporation System, 780
17                  Commercial Street SE, Suite 100, Salem, Oregon 97301
                                        NOTICE TO DEFENDANT:
18
                                     READ THESE PAPERS CAREFULLY!
19
            You must “appear” in this case or the other side will win automatically. To “appear” you
20
     must file with the court a legal document called a “motion” or “answer.” The “motion” or
21
     “answer” must be given to the court clerk or administrator within 30 days along with the required
22
     filing fee. It must be in proper form and have proof of service on the plaintiff’s attorney or, if the
23
     plaintiff does not have an attorney, proof of service on the plaintiff.
24
            If you have questions, you should see an attorney immediately. If you need help in
25
     finding an attorney, you may contact the Oregon State Bar’s Lawyer Referral Service online at
26

     Page 1 – SUMMONS                                                G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                   eleventh floor
                                                                              121 s.w. morrison street
                                                                            portland, oregon 97204-3141
                                                                                    503 228 3939

                                                                                    Exhibit A, Page 5 of 18
               Case 3:18-cv-01061-HZ      Document 1-1       Filed 06/18/18         Page 6 of 18




 1   http://www.oregonstatebar.org or by calling (503) 684-3763 (in the Portland metropolitan area)

 2   or toll-free elsewhere in Oregon at (800) 452-7636.

 3            DATED this 21st day of May, 2018.

 4                                                    GARVEY SCHUBERT BARER, P.C.

 5
                                                      By s/ Patrick J. Conti
 6                                                       Patrick J. Conti, OSB #141308
                                                         E-Mail: pconti@gsblaw.com
 7                                                       Telephone: (503) 228-3939
 8                                                       Fax: (503) 226-0259

 9                                                         Trial Attorney:
                                                           Paul H. Trinchero, OSB #014397
10                                                         E-Mail: ptrinchero@gsblaw.com
                                                           Telephone: (503) 228-3939
11                                                         Fax: (503) 226-0259
12
     GSB:9433331.1
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     Page 2 – SUMMONS                                            G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                               eleventh floor
                                                                          121 s.w. morrison street
                                                                        portland, oregon 97204-3141
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                                                                                Exhibit A, Page 6 of 18
             Case 3:18-cv-01061-HZ          Document 1-1 Filed 06/18/18                 Page 7 of 18
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 7                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                                FOR THE COUNTY OF MULTNOMAH

 9   FARES RUSTOM,
                                                           Case No.
10                      Plaintiff,
                                                           SUMMONS
11          v.
12   ACE AMERICAN INSURANCE
     COMPANY, a Pennsylvania corporation; and
13   CHUBB INSURANCE SOLUTIONS
     AGENCY INC., a Delaware corporation,
14
                        Defendants.
15

16          To:     Ace American Insurance Company, c/o CT Corporation System, 780
                    Commercial Street SE, Suite 100, Salem, Oregon 97301
17
                                        NOTICE TO DEFENDANT:
18
                                     READ THESE PAPERS CAREFULLY!
19
            You must “appear” in this case or the other side will win automatically. To “appear” you
20
     must file with the court a legal document called a “motion” or “answer.” The “motion” or
21
     “answer” must be given to the court clerk or administrator within 30 days along with the required
22
     filing fee. It must be in proper form and have proof of service on the plaintiff’s attorney or, if the
23
     plaintiff does not have an attorney, proof of service on the plaintiff.
24
            If you have questions, you should see an attorney immediately. If you need help in
25
     finding an attorney, you may contact the Oregon State Bar’s Lawyer Referral Service online at
26

     Page 1 – SUMMONS                                                G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                                   eleventh floor
                                                                              121 s.w. morrison street
                                                                            portland, oregon 97204-3141
                                                                                    503 228 3939

                                                                                    Exhibit A, Page 7 of 18
               Case 3:18-cv-01061-HZ      Document 1-1       Filed 06/18/18         Page 8 of 18




 1   http://www.oregonstatebar.org or by calling (503) 684-3763 (in the Portland metropolitan area)

 2   or toll-free elsewhere in Oregon at (800) 452-7636.

 3            DATED this 21st day of May, 2018.

 4                                                    GARVEY SCHUBERT BARER, P.C.

 5
                                                      By s/ Patrick J. Conti
 6                                                       Patrick J. Conti, OSB #141308
                                                         E-Mail: pconti@gsblaw.com
 7                                                       Telephone: (503) 228-3939
 8                                                       Fax: (503) 226-0259

 9                                                         Trial Attorney:
                                                           Paul H. Trinchero, OSB #014397
10                                                         E-Mail: ptrinchero@gsblaw.com
                                                           Telephone: (503) 228-3939
11                                                         Fax: (503) 226-0259
12
     GSB:9433295.1
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     Page 2 – SUMMONS                                            G A R V E Y   S C H U B E R T   B A R E R ,   P . C .   
                                                                               eleventh floor
                                                                          121 s.w. morrison street
                                                                        portland, oregon 97204-3141
                                                                                503 228 3939

                                                                                Exhibit A, Page 8 of 18
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 7                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                                FOR THE COUNTY OF MULTNOMAH

 9   FARES RUSTOM,
                                                           Case No. 18CV20543
10                      Plaintiff,
                                                           SUMMONS
11          v.
12   ACE AMERICAN INSURANCE
     COMPANY, a Pennsylvania corporation; and
13   CHUBB INSURANCE SOLUTIONS
     AGENCY INC., a Delaware corporation,
14
                        Defendants.
15

16          To:     Ace American Insurance Company, c/o Patti Dietz, 12909 SW 68th Parkway,
                    Suite 450, Portland, OR 97223
17
                                        NOTICE TO DEFENDANT:
18
                                     READ THESE PAPERS CAREFULLY!
19
            You must “appear” in this case or the other side will win automatically. To “appear” you
20
     must file with the court a legal document called a “motion” or “answer.” The “motion” or
21
     “answer” must be given to the court clerk or administrator within 30 days along with the required
22
     filing fee. It must be in proper form and have proof of service on the plaintiff’s attorney or, if the
23
     plaintiff does not have an attorney, proof of service on the plaintiff.
24
            If you have questions, you should see an attorney immediately. If you need help in
25
     finding an attorney, you may contact the Oregon State Bar’s Lawyer Referral Service online at
26

     Page 1 – SUMMONS                                                GARVEY SCHUBERT BARE R, P.C.
                                                                                 eleventh floor
                                                                            121 s.w. morrison street
                                                                          portland, oregon 97204-3141
                                                                                  503 228 3939

                                                                                Exhibit A, Page 9 of 18
              Case 3:18-cv-01061-HZ       Document 1-1      Filed 06/18/18    Page 10 of 18




 1   http://www.oregonstatebar.org or by calling (503) 684-3763 (in the Portland metropolitan area)

 2   or toll-free elsewhere in Oregon at (800) 452-7636.

 3            DATED this 8th day of June, 2018.

 4                                                    GARVEY SCHUBERT BARER, P.C.

 5
                                                      By s/ Patrick J. Conti
 6                                                       Patrick J. Conti, OSB #141308
                                                         E-Mail: pconti@gsblaw.com
 7                                                       Telephone: (503) 228-3939
 8                                                       Fax: (503) 226-0259

 9                                                         Trial Attorney:
                                                           Paul H. Trinchero, OSB #014397
10                                                         E-Mail: ptrinchero@gsblaw.com
                                                           Telephone: (503) 228-3939
11                                                         Fax: (503) 226-0259
12
     GSB:9504450.1
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     Page 2 – SUMMONS                                            GARVEY SCHUBERT BARE R, P.C.
                                                                             eleventh floor
                                                                        121 s.w. morrison street
                                                                      portland, oregon 97204-3141
                                                                              503 228 3939

                                                                          Exhibit A, Page 10 of 18
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                                          18CV20543


                                   AFFIDAVIT OF SERVICE


State of Oregon                        County of Multnomah                             Circuit Court

Case Number: 18CV20543

Plaintiff(s):
FARES RUSTOM
vs.
Defendant(s):
ACE AMERICAN INSURANCE COMPANY, a Pennsylvannia
corporation; and CHUBB INSURANCE SOLUTIONS AGENCY, INC.,
a Delaware corporation

For:
Patrick Conti
Garvey Schubert Barer
121 S.W. Morrison Street
Portland, OR 97204-3141

Received by Sound PS / Portland PS on the 21st day of May, 2018 at 4:06 pm to be served on CHUBB
INSURANCE SOLUTIONS AGENCY, INC. C/O CT CORPORATION SYSTEM, 780 COMMERCIAL
STREET SE, SUITE 100, SALEM, OR 97301.

I, John Jerman, being duly sworn, depose and say that on the 22nd day of May, 2018 at 9:15 am, I:

SERVED the within named Corporation / Business by delivering the SUMMONS AND COMPLAINT
(BREACH OF CONTRACT) to the office of the Registered Agent for the within named Corporation /
Business and accepted by: RYLYNN POOLE as SERVICE OF PROCESS TECHNICIAN who is the
Person in Charge at the address of: 780 COMMERCIAL STREET SE, SUITE 100, SALEM, OR 97301
the Registered Agent for the within named Corporation / Business.


Description of Person Served: Age: 45, Sex: M, Race/Skin Color: White, Height: 6'1", Weight: 200,
Hair: Light Brown, Glasses: Y




                                                                         Exhibit A, Page 11 of 18
        Case 3:18-cv-01061-HZ                  Document 1-1                   Filed 06/18/18                 Page 12 of 18




                           AFFIDAVIT OF SERVICE For 18CV20543

I certify that I am over the age of 18, have no interest in the above action, and am a Process Server, in
good standing, in the judicial circuit in which the process was served.




County of Multnomah
                                                                         John Jerman
                                                                         Process Server

Subscribed and Sworn to before me on the 22nd                            Sound PS / Portland PS
day of May, 2018 by the affiant who is personally                        1750 S.W. Skyline Blvd., Suite 8
known to me.                                                             Portland, OR 97221
                                                                         (503) 296-4889
____________________________
NOTARY PUBLIC                                                            Our Job Serial Number: JDJ-2018000511
                                                                         Ref: 39865/00500


                            Copyright © 1992-2018 Database Services, Inc. - Process Server's Toolbox V7.2m




                                                                                                        Exhibit A, Page 12 of 18
Case 3:18-cv-01061-HZ   Document 1-1 Filed 06/18/18   Page 13 of 18
                         5/23/2018 1:12 PM
                            18CV20543




                                                  Exhibit A, Page 13 of 18
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                                                    Exhibit A, Page 14 of 18
              Case 3:18-cv-01061-HZ        Document 1-1 Filed 06/18/18           Page 15 of 18
                                           6/12/2018 10:03 AM
                                               18CV20543



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 6
                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
 7
                                  FOR THE COUNTY OF MULTNOMAH
 8
     FARES RUSTOM,
 9                                                        Case No. 18CV20543
                         Plaintiff,
10                                                        PROOF OF SERVICE OF SUMMONS
              v.                                          AND COMPLAINT ON ACE AMERICAN
11                                                        INSURANCE COMPANY
     ACE AMERICAN INSURANCE
12   COMPANY, a Pennsylvania corporation; and
     CHUBB INSURANCE SOLUTIONS
13   AGENCY INC., a Delaware corporation,

14                       Defendants.

15
              Please take notice that on the 8th day of June, 2018, defendant Ace American Insurance
16
     Company was served with the Summons and Complaint in the above-referenced case. Attached
17
     hereto as Exhibit A is the proof of service signed by the process server.
18
              DATED this 12th day of June, 2018.
19
                                                        GARVEY SCHUBERT BARER, P.C.
20
                                                        By s/ Patrick J. Conti
21                                                         Patrick J. Conti, OSB #141308
                                                           E-Mail: pconti@gsblaw.com
22
                                                           Telephone: (503) 228-3939
23                                                         Fax: (503) 226-0259

24                                                         Trial Attorney:
                                                           Paul H. Trinchero, OSB #014397
25                                                         E-Mail: ptrinchero@gsblaw.com
                                                           Telephone: (503) 228-3939
26                                                         Fax: (503) 226-0259
     GSB:9533705.1

     Page 1 – PROOF OF SERVICE                                     GARVEY SCHUBERT BARE R, P.C.
                                                                                eleventh floor
                                                                           121 s.w. morrison street
                                                                         portland, oregon 97204-3141
                                                                                 503 228 3939

                                                                             Exhibit A, Page 15 of 18
                          Case 3:18-cv-01061-HZ                             Document 1-1                   Filed 06/18/18                  Page 16 of 18

          I hereby certify that I made service of the foregoing summons upon the individuals and other legal entities to be served, named below, by delivering or leav-
  ing true copies of the summons and 1he complaint mentioned therein, certified to be such by the attorney for the plaintiff, as follows:
                                                                           Personal Service Upon lndividual{s)
          Upon --------------- ----------------- -------------------- ---------------------- -------------------, by delivering such true copies lo
 --------------------- - - - ------------- --------------------------- - - ------ - --- - -------------------- - ------, personally and in person,
 al--------------------------- - - - ------------- - --------------------------- · on __________________ __________ , at ______ ___ o' clock __ _ .M.
          Upon ----------------------------------------------------- ------ - --- ------------ - -----------------· by delivering such true copies to
 ---------------- -------------------------------------------------------------------------------------------· personally and in person,
 at--------------------- ------- ----------------------- -------------------- · on ---------------------------, at--------- o' clock ___ .M.
                                                                         Substituted Service Upon lndlvldual(s)*
          Upon - ------------------------ --------------------------- --- - ---------- - ------- , by delivering such true copies at his/her dwelling house
 or usual place of abode, to-wit: ---------------------- ----- - -------- - - - - - --------------------------------------------------------------·
 to ---------------- - --------------------------- ----- --- - ---- ------------------------ -- ------------ ------- - -----, who is a person 14 years
 of age or older and a member of the household of the person served on --------------------------------- - - -------, at -------- o'clock ___ M _
          Upon - -------------- - ------------------------------------- - ------------ ----- ,by delivering such true copies at his/her dwelling house
 or usual place of abode, to-wit: --------- ----------- - - - ---------- - - - ----------------------- ----------------------------------------------,
 to --------- --------------------- - ------ ------------------------------------------ -----------------------,who is a person 14 years
 of age or older and a member of the household of the person served on - -- - ------------------ --- --- --------------- ,at -~ ---- --- o'clock __ _ ,M.
                                                                            Office Service Upon lndlvldual{s)*
          Upon -------------------------------------------------------~--- -------------, at the office which he/she maintains for the conduct of
 business at --------------- - - ----------------------- -- ------------ ---- ------ -- ------------------------------------------------ -·
 by leaving such true copies with ----------------------------- ------- - ---------------- - ------------- -----------------------·the person who
 is apparently in charge, on --------------------------------------------, during normal working hours, at --------- o'clock, ___ .M.
                                                                            Mail Service Upon lndividual(s)..
        Upon --- ---------- ----------- ------------- -- -------------~ ------- -- -----------, by mailing such true copies to him/her by first class
 mail and ALSO by (check one): D certified or registered mail with return receipt requested D express mail.
                                                          Service Upon Tenant(s) of a Mail Agent...
          Upon --------------------------------- ---------- - ------------------------------------------ - --- , by delivering such true copies to
 ------------------------------ -- - -------- --------- ----- - ------------ ·a person apparently in charge of ------------------- -------·
 whic h is the place where the mail agent receives mail for the reoant(s), its address being -------------------------------------------- -------------- ,
 on ------------------- ---- - ---- --- -----------, at--------- o'clock, ___ .M. Prior to effecting such service, I made diligent inquiry but could not find
 the tenant(s) so served.

     Serv~:::~~-oA~~~~A:::::::~:~eb~:;;;~t·-~:::~::_~~~::_~:~:~~~=:~~~i~~-~~~~~::~=~~:-~=~:'~~~~:. by
                                                                     (NAME OF C0!3lf>fATION, LIMITED LIABILITY COMPANY, ETC.)

              (a) delivering su~true copies, personally and in person, to _J_!:1~lS.._Lg~-------------------------------------- who is a/the
                  ----~"=:!..)_ _________________________ (Specify registered age nt, officer (by title), managing member, general partner, etc.) thereof; OR
              (b) lea ving such true copies with ------------------------------------- -- --------------- · the person who is apparently in charge of the
           office of -----------------------------------------------------------· who is a/the-- - - ---------------:---------------
           (Specify registered agent, officer (by title) director, general partner, managi l)! agent, etc.) thereof~                                  .
 at _Jlj_52q_&.-!:-/___~r!'.:'__f9-AWY )!$Q.:TJ~~d--Q-*"-!12t:.~J. on _J-14.L'_~]--~-~Qj~- . at _f:J_~~ o'clock _f. .M.
                                                    __                                                                              1
Dated - -------------- - - ------- - --------- - -------------------.                              I further certify that I am a competent person 18 years of age or older and a res-
                                                                                                   ident of the state of service or the State of Oregon, and thal I am not a party to
                                                                                                   nor an officer, director or employee of, nor attorney for any party, corporate or
                                                                                                   otherwise; that the person, firm or corporation served by me is the identical per-
                                                                              Sheriff
                                                                                                   son, firm or c<;W<>ration named in the action.
By ---------------------------------- -----------------------                                      Dated ____ .!:_~-::-C-~-./--f:'------------------------ .


                                                                                                   --~~ . ~--~&--&tc~-
                                                    Deputy




                                                                                                   ---- _ ~e211~-~L_Lfl~~--
                                                                                                            . /"), .                TYPE OR PRINT NAME

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                                                                                                   CITY                                       STATE                    ZIP         PHONE

 The signature lines on the left should be used only by an Oregon county sheriff or deputy. All other servers should complete the certification on the rlQhL 1he Proof of Service above COll-
talns most, but not au, of tile permtssfble metl!Ods or service.. For example, this fonn does not lnchlde proof of service upon a minor or incompetent person. See ORCP 7 D for permissi-
 ble service methOds with respect to particular parties.
 •where substituted or office service ls used, the plaintiff, as soon as reasonably possible, shall cause to be mailed, by first class ma~. true e<>pies of the summons and the complaint to
the defendant at defendant's dweUing house or usual place of abode, together with a statement of the dale, time and place at which such service was made. Use S-N Form No. 1149, Notice
of Substituted or Office Service, or the oquivalent.
- Service by mail may be made when required or allowed by ORCP 7 or by statute, except as otherwise permitted. If the summons and complaint are mailed, this certification may be made
either by the person completing the mailing or by the attorney for any party, stating the circumstances of mailing and including the return receipt as an attachment An attorney com-
pleting the mailing should delete • , nor attorney for" from the last paragraph of this document. FaHure to serve a summons in accordance with ORCP 7 and other applicable rules and
statutes may affect or nullify the validity of such service .
... whe,... service upon a tenant of • mail -nt is used, the plaintiff, as soon as reasonably poGSlble, shall cause to be mailed, by f'll'SI class mall, true copies of the summons and the
complaint to the defendant(s} at the addn!sS at which tne man agent receives mall for the defendant(s) and to any other malling address of the defendant(a) then known to the plalntltf,
together with a statement of the date, time, and place al which delivery was made.
Page 2 - SUMMONS.                                                                                                                    Exhibit A, Page 16 of 18             Exhibit A
                                                                                                                                                                    Page 1 of 3
             Case 3:18-cv-01061-HZ          Document 1-1       Filed 06/18/18      Page 17 of 18




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 7                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                                FOR THE COUNTY OF MULTNOMAH

 9   FARES RUSTOM,
                                                           Case No. 18CV20543
10                      Plaintiff,
                                                           SUMMONS
11          v.
12   ACE AMERICAN INSURANCE
     COMPANY, a Pennsylvania corporation; and
13   CHUBB INSURANCE SOLUTIONS
     AGENCY INC., a Delaware corporation,
14
                        Defendants.
15

16          To:     Ace American Insurance Company, c/o Patti Dietz, 12909 SW 68th Parkway,
                    Suite 450, Portland, OR 97223
17
                                        NOTICE TO DEFENDANT:
18
                                     READ THESE PAPERS CAREFULLY!
19
            You must “appear” in this case or the other side will win automatically. To “appear” you
20
     must file with the court a legal document called a “motion” or “answer.” The “motion” or
21
     “answer” must be given to the court clerk or administrator within 30 days along with the required
22
     filing fee. It must be in proper form and have proof of service on the plaintiff’s attorney or, if the
23
     plaintiff does not have an attorney, proof of service on the plaintiff.
24
            If you have questions, you should see an attorney immediately. If you need help in
25
     finding an attorney, you may contact the Oregon State Bar’s Lawyer Referral Service online at
26

     Page 1 – SUMMONS                                                GARVEY SCHUBERT BARE R, P.C.
                                                                                 eleventh floor
                                                                            121 s.w. morrison street
                                                                          portland, oregon 97204-3141
                                                                                  503 228 3939

                                                                               Exhibit A, Page 17Exhibit
                                                                                                  of 18A
                                                                                                  Page 2 of 3
              Case 3:18-cv-01061-HZ       Document 1-1      Filed 06/18/18    Page 18 of 18




 1   http://www.oregonstatebar.org or by calling (503) 684-3763 (in the Portland metropolitan area)

 2   or toll-free elsewhere in Oregon at (800) 452-7636.

 3            DATED this 8th day of June, 2018.

 4                                                    GARVEY SCHUBERT BARER, P.C.

 5
                                                      By s/ Patrick J. Conti
 6                                                       Patrick J. Conti, OSB #141308
                                                         E-Mail: pconti@gsblaw.com
 7                                                       Telephone: (503) 228-3939
 8                                                       Fax: (503) 226-0259

 9                                                         Trial Attorney:
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10                                                         E-Mail: ptrinchero@gsblaw.com
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11                                                         Fax: (503) 226-0259
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     GSB:9504450.1
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                                                                          Exhibit A, Page 18Exhibit
                                                                                             of 18A
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